                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:16-CR-221-MOC-DCK

 UNITED STATES OF AMERICA,                          )
                                                    )
                   Plaintiff,                       )
                                                    )
    v.                                              )      ORDER
                                                    )
 MICHAEL ALLEN DUKE,                                )
                                                    )
                   Defendant.                       )
                                                    )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 198) filed by C. Melissa Owen, concerning Jarrett Adams on

February 2, 2018. Mr. Jarrett Adams seeks to appear as counsel pro hac vice for Defendant

Michael Allen Duke. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 198) is GRANTED. Mr. Jarrett

Adams is hereby admitted pro hac vice to represent Defendant Michael Allen Duke.

         SO ORDERED.


                                           Signed: February 5, 2018




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